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September 2, 2022

VIA ECF

The Honorable Jessica S. Allen, U.S.M.J.
U.S. District Court for the District of New Jersey
Martin Luther King Jr. Federal Bldg. & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07102

Re: Rontez Miles v. The National Football League, et al.
    Civil Action No. 2:19-cv-18327 (JXN)(JSA)

Dear Judge Allen:

       This firm represents Defendants The National Football League and John Does 1-5 (collectively,
Defendants) in the above-captioned litigation. Elizabeth England, a member of the bar of the District of
Columbia, was admitted pro hac vice in the above-captioned litigation on October 25, 2019.

         Ms. England is no longer associated with Akin Gump Strauss Hauer & Feld LLP. Accordingly,
pursuant to L. Civ. R. 101.1(c)(5), we respectfully request the Court’s approval of Ms. England’s withdrawal
as pro hac vice counsel for Defendants. The other attorneys from McCarter & English LLP and Akin Gump
Strauss Hauer & Feld LLP remain counsel of record and pro hac vice counsel, respectively, for Defendants
in the above-captioned litigation.

          If this request meets with Your Honor’s approval, we respectfully request that Your Honor “So Order”
this letter, pursuant to L. Civ. R. 101.1(c)(5).

Respectfully submitted,

/s/ Adam Saravay

Adam Saravay

cc: All Counsel of Record (via ECF)



                      6th day of __________,
IT IS SO ORDERED this _____       September 2022.




s/ Jessica S. Allen
_____________________________________________
The Honorable Jessica S. Allen, U.S.M.J.




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